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IN THE UNITED DISTRICT COURT
FOR THE WESTERN DISTRICT OF CONNECTICUT / NEW JERSEY
UNITED STATES OF AMERICA: Abraham Ribicoff Federal Building -. I
PLAINTIFF,                                                    l. oJ . ,

ROSE, TRAVIS
111 PINE LANE
WINDSOR. CONNECTICUT, 06095
(Former NJ addresses) 1380 NORTH AVE .APT604 ELIZABETH, NEW JERSEY
                       1169 MAGGIE AVENUE, UNION, NEW JERSEY
                       111 PINE LANE. WINDSOR, CONNECTICUT
-v- *-CR-*-*
DEFENDANTS,
MOST REVEREND JOHN J . MYERS AND MEMERS OF THE BOARD OF TRUSTEES
(16MEMEMBERS)
ARCHBISHOP OF NEWARK, NEW JERSEY
171 CLIFTON AVENUE, NEWARK. NEW JERSEY
Monsignor James M. Cafone, Pamela M. Swartzberg. Esq. Most Reverend
Arthur J. Serratelli, Mr. Robert E. Baidini, Monsignor John Doran. Dr.
A. Gabriel Esteban, Dr. Phillip Frese, Mr . Francis J. Hager. Mr.
Phillip N. Maisano, Mr. Patrick M. Murray, Mrs. Donna o' Brien,
Reverend Mark O'Malley,
 Monsignor Joseph R. Reilly, Mr. Bruce Tomason, Monsignor Robert
Wister
CATHY KIERNAN
SETON HALL UNIVERSITY
400 SOUTH. ORANGE AVENUE
SOUTH ORANGE, NJ 07979
Defendant.
PLEA AGREEMENT
AI. The defendants, John J. Myers. current chair board of trustees,
President, Board of Trustees, President, Board of Regents. Archbishop
of Newark hereby defraud the University By-Laws (Seton Hall
University) hereby enter into a plea agreement with the terms and
condition as set out below
The defendant, Joseph Thornton, former director and or faulty member
of the Seton Hall & UMDNJ joint physician Assistant Program hereby
enter into a plea agreement with the terms and conditions as set out
below.
I. THE PLEA
1. The defendants agree to waive indictment and to plead guilty to a
Connecticut Federal District Courts and / or County HARTFORD Court on
counts of FRAUD, CONSPIRACY TO DEFRAUD, BREACH OF UNIVERSITY BYLAWS.
and MISCONDUCT IN PROCEDURE OF DISPERSING AND NOTIFYING ALL 16 MEMBERS

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Workers' Compensation
              Case Glossary (Full-Text Version)
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            OF THE BOARD OF TRUSTEES and DEFECTIVE ACADEMIC GRADE TRANSCRIPT .
            (Violation of the Bylaws of University at website portal address-
            (ht t p://www. hu .edu/offi c es / presid ~ ~~/upload / Univer s i ty -By- aws . pdf)
            as pertaining to breach of contract with S:ate and Fede~a~ ext er nal
            procedures to violate the of f ices of New Jersey ~jgher Educati on al
            policies and Connecticut Higher Education institutional State
            guid~-~nes to operate in Corporate structure with integrity as outline
            by pol icies and regulations of Educational State Contracted
            operational guidelines across all Federal district when serving
            student of the Americas when Federal student aid-Direct loans are
            utilized to sustai1 that edu cat ional organization).
            and New Jersey Fede r al Distr i ct Courts and lor County NEWARK Court on
            counts of FRAUO)CO~SPIRACY TO DEFRAUD, BREACH OF CONTRACT, Negligence.
            and M[SCONDUCT (employee-teacher-director-professor misconduct),
            pertaining to both the Universities of Seton Hall & Archbishop of
            Newark (john J. Myers). Violation of the title VI of Civil Rights of
            1964;78 Stat.252,253; 42 U.S . C. 20002d-1, 2000d-*NJSA.56:8-1,NJSA

            2. The defendant agrees to plead gui-ty to Court NJSA. 56:8-1, it le VI
            of Civil Rights of 1964;78Stat.252,2~3; 42 U.S.C . 2000d-1, 2000d-3.
            Academic ethics policies and By-Laws of both Seton Hall and UMDNJ with
            regards to grading as in line with University By Laws privileges,
            calculation of GPAs, tran script integrity fraud an d defects which are
            detrimental to other university review of academic istory on behalf
            of student.* Fraud NJSA 56; 8-1. of the indictment Wi Lh charges a
            violation of Title*, United States Code, Section

            *[in order to obtain a total re;und of the plaintiff's tuition and New
            Jersey Class loan assistant (paie and unpaid original balances).The
            defendant (Most Reverend John J. Myers and the 16 members of the board
            of trustees along with Univer s ily executives who wrongful and
            knowingly committed Fraud as to not address the entire 16 members of
            the Board of Trustees on t he issue of evidence demonstrated in student
            internal grievance against t he former educational graduate He alth
            science school program director and professo r (Jos eph Thor nt on)
            understands that the penalties can be imposed by the Court.


            3. The defendant (John J. Myers and 16 members of the Board of
            Trustees) will a l so admit Court evidence on behalf of the plaintiff's
            case in order demonstrated with regards to other state and/or federal
            statues involving fraud and ethical codes of conduct as defined by
            university By-laws policies and procedures*


            8. The defendant understands that the Court may require restitution in
            the amount of $ 85,000 (tu' ~ ion refund/NJ Class Loan s ) to be paid to
            plaintiff as part of the se'1;::ence. In addition, court restitution

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based on income penalties vital to employment income-wage losses due
university enrollment based on tax filings to the Internal Revenue
Service. In addition, to restoration of educational opportunity within
a new educational institution of choice or recruitment opportunity.

9. The defendant understands that the Court must require restitution
in the amount of $ 85,000 (Tuition refund/NJ Class Loans) to be paid
to plaintiff as part of the plea deal if institutional refund is
denied . In addition, the legal fees and fines plus trial cost
associated with Federal Court.
98. The defendants understands under breach of contract by-laws.
violation of federal civil rights. University By-Laws and any other
laws (define or added to list of charges by US Federal Court on behalf
of the Judge) concerning the plaintiff seeking expectancy restitution
in the
amount of $ 4, 011,329.00 plus payment of expenses - legal fees and
fine/reimbursement of cost associated with this case.
10 . Pursuant to Title 18. United States Code, Section 3663 (a) (3),
the parties agree that the Court shall require restitution in the
amount of $85,000 (Tuition refund/NJ Class Loans/Restoration of
Educational opportunity of choice)*to be paid to plaintiff*as part of
the defendant's role within institutions of Seton Hall & (Archbishop
of Newark).

12. The defendant understands the nature of the offense[s] set forth
in paragraph   1 of this agreement and understands that if this case
proceeded to   trial. the plaintiff would be required (John J . Myers) to
prove beyond   a reasonable doubt [21 U.S.C. '846] that his conduct
violated the   state and federal law.


FACTUAL BASIS
a. John J. Myers and the plaintiff agree to the following facts, which
form the basis for the entry of the plea of guilty including relevant
condue t.:

1. Violated the civil rights of the plaintiff by establishing failure
of review according to BY ' Laws policies and procedures to review
student grievance    regarding; two grading policies among formers
students across cultural classroom demographics in conjunction in
failure to notify the 16 members of the Board of Trustees via
operating within University By-Laws to provide a clear and untainted
review without administration bias within the current Physician
Assistant program whose previous professional Brand has sustained a
tarnished professional reputation via review by DUkE UNIVERSITY


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founder of the Physician Assistant profession- Eugene Stead Jr. M.O of
Emory University.
2. Failure of review by Board of Trustees to planned and implement the
meeting among all 16 members of the board of trustees to avoid
internal bias in order to render fair procedures excluding university
employees of Seton Hall       to maintain quality leadership and
professional code of conduct to that of any corporate board of governs
as compared to public corporation charged with following internal
University By-law procedures to which to review student's complaint
(grievance) on the issue of professional misconduct against the
plaintiff in order to defraud him of a master's level degree in Health
Sciences and review of evidence associate with a grievance that
functions under Section I: Purpose within University By-Laws rules and
regulation.
3.  Failure of review according to By-Laws purposes and function to
implement a plan where student (Travis Rose) is given privilege
grades, free from failure in courses and obtaining a Master's degree
according to grading integrity policies and procedures of the
University By-Laws were grades were altered on didactic & clinical
UMDNJ assessment assignments in order to alter grades dispersal (GPA)
among a cultural diverse classroom as deducted from grade transcript
evidence collected by chairperson-Mark S. Johnson M. D to ensure that
the University By-Laws purposes and function are performed . Equal
distribution of University By-Laws purpose and function privileges and
failure to implement a resolution against non-awarding of Master's
degree or refund and restoration of educational opportunity at another
university of choice with tuition reimbursement to benefit Travis
Rose.
4. John J. Myers defraud the student's (Travis Rose) opportunity to a
fa i r revi ew by the 80a rd of Trus tee 16 members to voi ce the student
grievance on issue of restoration of transcript defects and
educational opportunity. John J. Myers failed to promote the
University By-Laws for all human beings' academic aspirations within
the academic program. He failed to correct the fraud that promoted the
advance of selected individuals (unknown criteria), whereby again
entering into agreement with fellow colleagues who are bias and not
members of the board of Trustees to ensure student (Travis Rose)
grievance on grade integrity (transcript fraud) would not lead to
corrective instruments of change in university policy. He promotes an
environment of civil rights violation covertly performed by well
thought-out pl anned scri pted teachers. professor, staff and di rector
of the school who di s tri bute pri vi 1ege on the terms that render the
University By-Laws privileges impaired or unevenly distributed.
5. Failure to implement University By - Laws to triumph unfair grading
po1icy used by associates of Professor Thornton across covert

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classroom demographics, clinical UMONJ assessment assignments grades,
and their final grade point average (GPA) calculations evenly
di stri bute across every student. Unfai r academi c di sma1 pol icy not
taking into account University By-laws to adjudicate any issue of
educational defects across classroom demographics including dishonest
academic behavior on clinical rotations and not limited to any other
events and or overall history of the program to maintain a fair and
even professional learning/promotional environment for all being while
promoting the University's By-Laws first and uttermost.

6. John J. Myers academically without any standards (ethical or
academic) set out with intent to dismiss the 16 members of the board
of Trustee and p1a i n tiff student comp 1a i nt on the grounds of revenge
after or before a fair open minded inquire by all parties of the Board
of Trus tees wi th reques ted guest (Doctor Ma rk Johnson) to conduct a
fair trial.

6b. John J. Myers committed and perpetuated the continuation of cruel
and unusual pun; shment on behal f of Joseph Thornton in whi ch the
academic transcripts defective nature is a stigma of emotion distress.

6c. John J . Myers committed and perpetuated the continuation of cruel
and unusual punishment on behalf of those colleagues (present or
terminated) who partiCipate in the actions of academic student review
leading to separation while deception to conceal a practice (short or
long-term) which conspired to separate Travis Rose from the academic
program while violating the University's By-Laws and establishing a
condition of defective academic transcript while other students were
exposed to a covert grading privilege practice that established a
unfair and unusual outcome.

6d. John J. Myers committed and perpetuated the continuation of cruel
and unusual punishment on behalf of an academic business service
transaction in which the condition of academic transcripts for the
academic year of fall 1999 and spring 2000 is parasitic condition
incurring emotional and financial hardship distress. This demonstrates
cruel and unusual punishment of not addressing an educational
grievance of the student void of University By-Laws' purpose and
function artic1e's paradigm. Without utilizing, the University By-Laws
and 16 members of the Board of Trustees to create a resolution
centered   on   promoting   restitution   of   professional   education
development opportunity of the student thereby upholding the Roman
Catholic educational mission as defined by the By-Laws as defective.

6e. John J. Myers committed conspiracy to defraud the University
Bylaws and the student's grievance and misrepresent the Board of
Trustees (16 members) via mailing letters absent of guest and all 16
members of the Board of Trustee.

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6f. John J. Myers commi tted conspi racy to defraud the Uni vers i ty By-
Laws and set forth an arbitration to appeal any issue of conflict in
the future or present of any student' s gri evance to ensure fai rand
honest procedure this includes the present complain tent Travis Rose.

6g. John J. Myers committed conspiracy to defraud the United Stdte tax
laws by voiding the application of the University By-Laws as religious
independent educationa1 institution recelvlng federal funding etc.
Thus this organization must utilizes its By-Laws in a consistent
manner free of prejudice always ensure correct documentation by all 16
member of the Board of Trus tee when a student has gri evance in any
duration (short-term. intermediate. long-term. specific point in the
operation of the educational institution).
6h. John J. Myers comm; tted fraud by fa i 1 i ng to demonstrate
transparency in procedure for the purpose of denying 16 members of the
Board of Trustee to convene in order to execute a covert revenge acts
of fraud via document. scapegoating, trickery. recruiting charlatans
in professions to serve as covert coconspirators agents to fabricate
via trickery materials to be used instrument to defend their
institution against university academic peer review conduct.
6i. John J. Myers engaged in deceptive practices in coordination with
Seton Hall Bursar office to distribute fraudulent grievance services
in person. phone and email to Travis Rose in order to propagate belief
base on pre-throughout method of actions to which scapegoat. con
(fraud),Mr. Rose into wrongful reversal of refund by University of
Medicine and Dentistry in-order to fabricate a defense on behalf of
the school evidence against collected against Joseph Thornton and
staff (Seton Hall staff a co-conspirator). who was involved in former
covert business operation of fraudulent degree distribution in
violation of academic performance policies, void of educational
effectiveness and/or By-Laws while scapegoating Mr. Rose. The purpose
of John J. Myers is to establish a defense in the 'Hake of mounting
outside universities peer review of the evidence.

6j. John J. Myers has committed conspiracy to defraud in continuation
to defraud the federal student loan authority via violation of
student's civil rights in grievance process failing to demonstrate
transparency, utilization of By-Laws while covertly implementing an
elaborate well-though plot to defraud detection of performing a
student scapegoat grading conspiracy to defraud federal revenue plan
of action void of educational effectiveness.

6k. John J. Myers conti nued a plot to defraud the student (Travi s
Rose) of the former failed joint graduate school program by conspiring
with members of the Seton Hall University Bursar office and corporate

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officers to perform mail, email fraud (scripted actions of fraud to
undermine the students rights) to which are grievances under federal
law are defraud under federal student loan guidelines to which the
independent   school  utilizes   federal   student  educational funds
established by the federal Treasury of the United States.

61. John J. Myers committed fraud knowingly on the behalf of the Seton
Hall University Bursar office on the issue of the termination of
contract aka breach of contract in which former centralized employee
(Joseph Thornton) of Seton Hall graduate health science school acted
with fraud committing to execute a continued scripted fraud plot
against Travis Rose's legal court rights. Seton Hall Bursar office
knowingly committed fraud by failing to advices student and respond to
a written grievance in a timely fashion that does not void the court
statutory civil or criminal rights of the student if required to seek
1ega 1 federa 1 court remedy .

6m . J 0 hn J. Mye r s com mitt ed f r a udon be hal f 0 f Set a n Hall Un i ve r s it y
Bursar offi ces, corpora te offi ces and graduate heal th sci ence school
in continued plan of action to deceive the former joint degree student
(Seton Hall & University of Medicine and Dentistry School of New
Jersey-aka UMONJ) knowingly conducted an elaborate enrichment scheme
with no educational training validity resulting in no student
ascertaining a degree. Seton Hall University and UMONJ failed to
uphold its contracted duties of providing an educational purpose to
obtain a joint school degree which was voided along with academic
value of the transcripts educational purpose which suffered a defect
under the responsibility of both educational institutions purpose with
loans purpose serves being deem a fraud and thus all and any student
loans (private or government)are voided as demonstrated by UMDNJ
vOi ding Federa 1 Di rect student loans for the academi c yea r of 2000-
2001.

6n.   John J. Myers committed fraud on behalf of Seton Hall University
Bursar offices, corporate offices and graduate health science school
teachers in continued plan of actions to deceive the former joint
degree student by knowingly a centralized employee of Seton Hall
University; Joseph Thornton former director of the Physician Assistant
program engaged in as the evidence collected supports a scapegoat
grading fraud scheme, academic transcript fraud, voiding school
written policy on integrity and clinical plagiarism policies with the
outcome of no educational service validity being performed in on going
manner to teach the student cl ass. Thereby establ ish a rewa rd sys tern
of academic student fraud for monetary gain encompassing Seton Hall
University covert independent school monetary federal student loan
fraud scripted plot.



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7. Failed to implement unbiased, free of prejudice a Catholic
environment with Board members meeting to review student complaint on
issues of course's curriculum and teaching matters that would have
created a standard of educational and Catholic institutional value
effective to uphold the University By-Laws; notify plaintiff in
writing on issue by 16 members of the Board of Trustee convening to
demonstrate the organization' integrity to utilize purpose and
function clause of the By -Laws as to purpose and function.

8. John J. Myers has conduct fraud in his conduct when tainted by bias
and/or prejudice due to meeting with fellow lower rank colleagues of
execut i ve off; ces wi thout conveni ng fi rst wi th the 16 members of the
Board of Trustee to discuss the academic recording transcript fraud
issue. John J. Myers failed to demonstrate a sworn oath to uphold the
By-Laws purpose to execute the University educational mission
statement as outline by University By-Laws and direction by By-Laws
policies, procedures and mission statement regarding the plaintiff's
Board of Trustee grievance corresponding to the students' official
transcript defective status as caused by former, now terminate
program-d; rec:or Joseph Thornton as documented by UMDNJ chai rperson-
Mark. S. Johnson to further the student educational aspirations.

9. I John J. Myers hereby thought-out (planned) and implement unfair
practice of review process by not notifying the 16 members of the
Board of Trustees first & uttermost. This grievance-error in actions
rendered prejudice as an issue impairing the practice to uphold the
By-Laws of the University. Failing to lead the 16 members of Board of
Trustee first and have them all sign a letter (s) on issues of the
student to demonstrate university miSSion laws under the Roman
Catholic educational academic mission to establish fair procedures of
Board review for a student's grievance in the aspect of being
profess i ana 1 (free of prej udi ce). I John J. Myers fa i 1 to not i fy
student on the issue of arbitration to establish a Board of Trustee's
action plan to compensate Travis Rose for the losses and exposure to
cruel and unusual punishment in terms to his experience unfair-
fraudulent educational dismal and defective nature of the academic
transcripts condition.

FACTUAL BASIS

10. Plaintiff has extensive emergency-department medical-clinical
training on behalf of New Britain General lead doctors (foreign
trained-US certified MDs') Mucci, Doctor Dolce, Doctor Karl. and
Doctor Wolf-Harvard M.D. graduate to ensure quality professional
practice.

11.  John J. Myers conducted an unholy act or set of actions aka fraud
by utilizing bias professionals who are divorced of the Roman Catholic

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mission statement objective from politics of grades between two parts
of joint mission program and demonstrates weakness to the issue of
calamities on behalF of students neuro1ogic development to which they
as young adults-pre-professiona1 disorganize inspectors from ascertain
a solid comprehension to the ethical -professional development of their
Catholic identity during the grading; written and practice policies
within the former Joint Seton Hall & UMONJ program.
12 . John J. Myers violated the opportunity with 16 member of the
Boa rd of Trustee to demonstrate and operate the Holy Roman Cathol i c
Mission statement via application of By-Laws to create an effective
membership of counsel free from bias and prejudice thoughts to conduct
themsel ves wi thi n the professional framework of the By- Laws to ensure
a remedy to student's breach of educational effectiveness contract and
remedy to integrity grade transcript fraud cause by a former
director/professor (Joseph Thornton). Any program defectCs) that
substantially impair the use, value or safety of the degree's
educat i ana 1 effect i veness on beha 1f of the student that is 1i ke 1y to
cause death or serious injury if any student ;s not educated to
perform on clinical-public real             employee 1 ifelong operations.
Educational effectiveness does cover conduct defects of students
caused by students' vandalism, abuse; neglect and medical plagiarism
for these are grounds for termi nati on. Thus a substi tute remedy must
be implement via complaint to Board of Trustees all 16 members to
which the student's grievance aspirations are valued due his/her
request to demonstrate aid or assistance from the Board of Trustees to
replace or swapping (exchange) the current educational service
master's degree opportuni ty wi th any other educati onal i nsti tuti on in
order to further the Roman Catholic mission statement and purpose and
function of the University By-Laws among all human beings.
13.    Plaintiff reference to Eugene Stead Jr. M.O-Emory University-
founder of the Physician Assistant profession at Duke University;
ascertain outcome of educational evidence review of fraud and
transcript fraud are factual evidence that degrade the prestige and
educational value of the University's brand (Seton Hall University)
which is damaged and defective in nature which cause or create a
unfair gesture/actions/environment to the student's grievance to seek
and obtain a fair resolution.     The condition of student transcript
fraud    cause a unprofessional stigma which lead to bias conduct on
behalf of the executives of Seton Hall; members of educational
replacement Physician Assistant program and academic teacher-
professors-vice president and president members of the university that
create an atmosphere of obstruction to hinder the Catholic Roman
val ues of John J. Myers to take action to contact the 16 members of
the Board of Trustee to resolve the complaint of the student in manner
of justice where the educational opportunity lost or defective is
replaced or repaired. In addition, educational institutional peer

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review of the facts has caused a hostile environment or stigma
impeding a fair and unbiased resolution to with the ascertainment of
the replacement or repair of the educational opportunity is defective
as outline in the By-Laws in which 16 members of the Board of Trustee
should met to restore or replace the educational opportunity of the
student's choice with full tuition cost coverage if no refund from the
original institution (Seton Hall University) is provided.


14. *John J. Myers committed Breach of corporate contract-University
By-Laws** is a legal cause of action in which a binding agreement or
bargained-for exchange is not honored by one or more of the parties to
the contract by non-performance or interference with the other party's
performance. If the party does not fulfill his contractual promise. or
has given information to the other parties that. he will not perForm
his duty as mentioned in the joint contract a refund to the individual
parties is valid under individual enrollment document. Failure to
initiate the 16 members of the Board of Trustees to uphold the By-Laws
of the University.
*John J. Myers-Archbishop of Newark committed fraud as defined an
intentional deception or misrepresentation made by a person with the
knowledge that the deception could result in some unauthorized benefit
to himself or some other person. It includes any act that constitutes
fraud under applicable Federal. State Law and University By-laws to
uphold the University holy Roman Cathoiic Mission statement and vision
of life for all human beings.
*John J. Myers-Archbishop of Newark committed negligence as defined a
person has acted negligently if she has departed from the conduct
expected of a reasonably prudent person act; ng under simi 1 ar
circumstances. The failure to exercise the care that a reasonably
prudent person would exercise in like circumstances. UJ The area of tort
1 aw known as neg 7i gence i nvo 1 ves ha rm ca used by care 7essness wi th
intentional harm to undermine the University holy Roman Catholic
Educational Mission statement and vision of life.
*John J. Myers-Archbishop of Newark committed Abandonment. as defined
in l aw, is the relinquishment or rp.'1unciation of an interest. claim.
priv i lege. possession. or right, especially with the intent of never
again resuming or reasserting it. Such intentional action may take the
form of discontinuance or a waiver.
    1. John   j.   Myers/   colleagues     with   no   compassion   tainted
       misrepresented Travis Rose complaint voiding the 16 members of
       the Board of Trustee to review that evidence of unprofessional
       conduct by a former professor and Di rector who fai 1ed to uphol d

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        the University By-Laws Purpose and function to triumph any issue
        of scapegoating for the benefit of others (fellow students) which
        violates the entire mission of the Roman Catholic Church mission
        statement educational By-Laws article on purpose and function,
   2,   Unlawful academic-student complaint dismissal with intentional
        decept i on to Tra vi s Rose** vi a wrongful signature and 1ack of
        signatures from all 16 members of Board of Trustee to demonstrate
        act without bias or malice to resolve complaint and option for
        appeal or arbitration from an unbiased source.
   3.   Deception to provide continues authorized 16 members of Board of
        Trustee review benefits to resolve issue of grades (academic
        transcript defect (fraud) rendering transcripts worthless) being
        not valid for Master degree of equal educational or associated
        health professional opportunity.
  4.    Deception to provide continues unauthorized benefit to him to
        support his covert deceptive practice with regards to breach of
        contract with University By-Laws policies and procedures,
   5.   Unequal practice with regards to distribution of opportunity
        among student body who seek 16 member of Board of Trustee to
        review complaint and establish a resolution to amended Lost of
        opportunity of Master degree and easy the tuition-financial
        burden which is cruel and unusual punishment.
  6.    Bait-and-switcn is a form of fraud. Colleges and Universities
        often use moderate mix-grading profile (grade sabotage) to induce
        continuation at further repeating of courses during the first
        year, and witt', program closure due fraud-breach of contract.
        abandon the student with accumulate fiscal burden on the act
        covert deception by Joseph Thornton and staff plus John J. Myers
        are aiding to promote this internal conduct via violating student
        compliant to address 16 members of the Board of Trustee free from
        prejudice,
  7.    Violation of performance contract University By-Laws' duties
        concerning student's complaint about clinical rotations grades
        received and their failure to demonstrate purpose and function of
        the University mission statement and By-Laws.
  8.    No joint program degree award between Seton Hall University &
        UMDNJ** this demonstrate an issue to be address by the 16 members
        of the Board of Trustees.
  9.    V'iolation of school integrity policy with corruption scripted
        grade apparatus plot to undermine the University By-Laws and
        mission statement.


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   10.       Grade document fraud and grade transcript fraud leading to-
       damage educational reputation of transcript in its entirety.
   11.       Failure to notify in writing accredHation status changes
       and history with optional refund text to verify if program is
       fit for Mr. Rose future career track upon enrollment until
       termination with issue to be address by 16 members of the Board
       of Trustees under University internal apparatus policies and
       procedures.
In additi on. after my di smi ssal, I sought and was defraud by staff on
how to access appeal process, arbitration and review by the 16 members
of the Board of Trustee.
Duke University-Eugene Stead Jr. M.D. (Emory University)-founder of
the Physician Assistant program who affirmed that the issue of fraud
on behalf of Joseph Thornton and staff was collected and reviewed. I
do not wish to consider any other degree programs in your institution
(Seton Hall University) due retaliation experienced and as advised by
Eugene Stead Jr. and other schools who note the extensive history of
fraud within Seton Hall University. Eugene Stead Jr. contacted other
universities and promoted a moral obligation on the issue of Mr. Rose
obtaining a refund and extending recruiting opportunities on behalf of
the evidence presented regarding grade and transcript fraud.

Failure of John J. Myers to perform his duties wah the focus on
resolving the student's grievance and educational opportunity as
prompted by the University By-Laws and council reconvening that
consist of the )6 members of the Board of Trustees to review this
evidence under By-Laws policies and procedures to ensure the student
grievance is given compensation to replace the lost or defective
nature of the educational opportunity as created and establish by
evidence of former program director-professor Joseph Thornton and
staff.

Furthermore. the course credits are worthless concerning transferring
to another academic program. The school closure evidence of fraud
commi tted by Joseph Thornton was transmi tted to other coll eges and
univers1ties over months leading to the damage of the academic
transcripts integrity as damage-service stigma. The program closure
issue deemed the credits worthless because I investigated with other
university PA programs the value of the credentials. Other school
faculty provided information on the program's failure status warranted
a refund due to history of problems. I met with the Seton Hall Bursar
and verbally demand a refund on the issue of breach of contract in

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person at initial time of the incidence. I have not received any
written or verbal answer and have wait in limbo for years.

At that time. I had no idea of the procedure and Connecticut
university corporate faculty provided professional assistance about
followed up procedure with respect to Governor Chris Christie. His
department wrote a letter dated March 9 2012 on the issue of
assistance in obtaining a refund from Seton Hall University. This is
the ONLY issue to resolve -a tuition refund from Seton Hall University
for the didactic-iecture portion and total refund for New Jersey Class
Loans.

Advised to contact you the Chief financial officer about a swift and
professional resolution to obtain a total tuition refund from Seton
Ha 11 Uni vers i ty to reso 1 ve Joseph Thornton' s unprofess i ona 1 conduct.
Then to further the complaint to 16 members of the Board of Trustee.
Please note the sole-reason for my contact is to request a Seton Hall
University tuition refund for the entire didactic-lecture portion of
the two-year program. This issue is tied to NJ Class loans taken out
to pay for tuition etc. This is the ONLY issue to resolve -a tuition
refund from Seton Hall University for the didactic-lecture portion and
total refund for NJ Class Loans upon breach of contract issue.
Thank-you for the opportunity for reading this letter and I hope that
you can find it in your professionalism to understand the breach of
contract commit by Joseph Thornton and staff. They have since received
termination of their credentials and no longer are associated with
Seton Hall University I fear an issue of retaliation on behalf of the
school administrative who seek to aid Thornton via the defamation of
my character based on refabricated past events to excuses his
violation in academic institutional peer review and/or court.
Conclusion at the time of Mr. Rose's enrollment this school program
closed and a Seton Hall University tuition refund is substantiated
based on the evi dence of fraud      J  conspi racy to defraud, breach of
contract. damage educational reputation of transcript and negligence
on the sole actions of Joseph Thornton and staff. In addition. loss of
accreditation equals no validation to grating joint program degree,
which I enrolled in order to obtain from origins of entrance into
program.
In addition -section according to law guidelines for restitution in
breach of contract for monetary damages according;
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   •   Expectancy- principle remedy is to be award the non-breaching
       party (Travis Rose) monetary damages that give him the financial
       equivalent of what he would have gotten had parities performed no
       more, no less regarding future earning income.
   •   ER Phy sic ian Ass i s tan t - 40 yea r mu1tip 1e be $ 85 , 000
       $3,400,000.00
   •   Reliance- Is compensation the non-breaching party for out of
       pocket expenses incurred in anticipation of having Whatever the
       breaching party had promised.
   •   Out of pocket expenses- rent cost for years-$ 64,329
   •   Out-pocket physical therapy -retaliation scheme- $ 6,000
   •   Restitution -involves requiring the breaching party to disgorge
       (RETURN) the value of any benefit he received from non-breaching
       party.
   •   Loss of wage and investment retirement principle total for five
       accounts= $ 532.000.00
   •   The rules of foreseeability apply under
   •   Damages caused by breach
   •   The claimant ( Travis Rose) loss can be proved with reasonable
       certainty
   •   Particular damages were within the contemplation of the parties
       to the contract at the time it wa s executed - the rul e
       foreseeability rule.
  •    Retaliation- scheme to foil the rules of compensation and to
       undermine legality of grievance on behalf of Travis Rose in which
       numerous covert agents (coll eagues -network fri ends) engaged in
       action to physical and professional created documents to fraud,
       trickery.   deception     to create    fraud  records/testimony of
       fabricated evidence to serve as a means of intimidation (verbal-
       nonverbal. extortion. wrongful imprisonment. assault. wrongful
       stereotype attributes of Travis Rose's character etc.) while Mr.
       Rose sought to remedy the school probl em. Fai 1ure on the behal f
       of Seton Hall University to assistance in refund via following
       internal protocol for former student Travis Rose in a timely and
       professional manner according to Seton Hall University protocols
       (plus By-Laws) as outlined in a letter response by governor Chris
       Christie-governor of New Jersey that dated March 9, 2012.
  •    Note legal documents sent to Seton Hall University and no
       response to attorney concerning addressing the breach of contract
       at the program/institution level as outline in Governor Chris
       Christie letter. In addition. written complaint to ARC-PA

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      headq ua rte r s da ted Novembe r 24, 2002 & 2009 wa s f i 1 ed. Note at
      time of filing grievance to ARC-PA office, which is located in
      the state of Georgi a . In response, Travi s Rose was di reeted to
      visit the Seton Hal1 University campus financial aid department
      and was denied service. Travis Rose's verbally & written requests
      to speak to dean and give no response verbally and left in
      waiting area for hours (over 6 hours per visit) as form of
      retaliation .
  •   Travis Rose has noted denial to a resolution by Seton Hall
      University administration upon physical visits to financial aid
      office and restrict from service (numerous accounts), written
      1egal correspondences. and the corporate board who repl ace the
      former staff. Please contact the Seton Hall University lead
      Bursar to issue a complete Seton Hall University tuition
      didactic-lecture (refund) and New Jersey Class loan refund.

  •   In response to writing and researching an educational attorney
      while employed at U.S. Veteran Affairs East Orange, New Jersey,
      which located three, walking blocks from the university. Travis
      Rose was physical assaulted on the worksite Fort Dix campus and
      suffered a severe head lnJury which required a neurologist
      treatment.   (Dr. Apatoff -Rx it 6134839 -9 refills as of
      121l8/2009-have medication bottle) Travis Rose was prescribed·
      GABAPENTIN aka Neurontin 100 mg capsules for serve concussion and
      lapse of memory with altered Mr.          Rose's mental capacity
      concerning ':':ilin9 a lawsuit. In addition to relocating to the
      East Orang~ Veteran Affai rs campus. Mr. Rose was again detracted
      by his injury and further faced document fraud issues from
      selected federal workers on behalf of Seton Hall University who
      threaten his life and continued to tarnish his performance
      evaluation via fraud scripted document fraud evaluations and
      verbal harassment scripts. I was engrossed in filing grievance
      with the New Jersey federal attorney general. Due to nature of
      the head injury, long·term data was lost on the issue of filing a
      court grievance against Seton Hall University.
  •   Mr. Rose was mentally incapacitated with issue of tracking down a
      New York attorney educational specialist because New Jersey has
      no listing for an educational school attorney. The long·term
      memory loss (concussion) due to head / facial injury suffered,
      which is documented by medical specialist neurologist Brian R.
      Apatoff -401 East 55th Street, New York, NY 10022, is the grounds
      to waive the statute of limitations.

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   •   Furthermore, his David Russell Ph.D. provided out of pocket cost
       regarding psychiatric counseling concerning his head injury and
       traumatic injuries psychiatric issue on behalf of the issue of
       retaliation.   David Russell, Ph.D. address 1001 Farmington Ave,
       suite 304, West Hartford, CT 06107-2121, WWW.MemoriesCanHeal.com



   WAIVER TO STATUE OF LIMITATIONS
   The plaintiff Travis Rose is filing as part of his plea agreement
   against Seton Hall University a waiver to dismiss the statute of
   limitations on fraud. breach of contract. neglect, Abandonment
   concern i ng Seton Ha 11 Uni vers i ty on the grounds John J . Myers-
   Archbishop of Newark has recently committed violation of this
   ethics, University By-Laws with regards assembling the 16 members of
   the Board of Trustees;

       •   Failure for Seton Hall University administration to promptly
           resolve the issue of tuition reimbursement or resolution
       •   Failure to provide an action plan from Board of Trustees 16
           members for restitution of cruel and unusual punishment,
           violation      of   University   By-Laws,   defective  academic
           transcript.     emotional  distress and exposure to revenge
           (assault etc.).
       •   Fa i 1 ure to awa rd a remedy to brea ch of cant ract in whi ch
           expectancy, reliance and restitution could implement to
           resolve the career-professional income-educational opportunity
           with another educational institution resolution .
       •   Travis Rose experience head trauma as result of a covert
           assault in which deception tactics and multiple parties
           coordinated a covert retaliation on behalf of Seton Hall
           University.
       •   The severity of Mr. Rose's injury entails loss of memory and
           medication treatment with counseling on issues related to
           attacks     identifying their    association with Seton Hall
           University via messages given to a second party to relay the
           message of the origin of the attack.
       •   The submission of medical evidence in the form of medical
           diagnosis and treatment of head trauma via neurologist and his
           family doctor is the solid medical evidence to petition the
           court for a waiver to the time limitations on the laws
           concerning fraud, breach of contract, neglect, and abandonment

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        against Seton Hall University, Joseph Thornton, and John J.
        Myers etc.


supervised release set forth in Section II, above,
notwithstanding the fact that the Court may reach the
sentence by a Guidelines analysis different from that set
forth in this agreement. However, in the event of an appeal
from the defendant's sentence by the defendant. the
plaintiff reserves its right to argue the correctness of
the defendant's sentence. Further, the plaintiff otherwise
reserves all of its rights of appeal as provided for in the Sentencing
Reform Act of 1984.

63. ([f applicable) Pursuant to Rule ll(a) (2) and subject
to the approval of the Court. the defendant reserves the
right to appeal the defendants' motions for
[spec1fy nature of motion] pursuant to the report and
recommendation of Hon. -name]. United States Magistrate
Judge entered on [date] and the decision and order of the
District Court entered on [date] . Should the defendant
prevail on appeal. the defendant shall be allowed to
withdraw the guilty plea[s].

VII. COOPERATION

64. I John J. Myers will cooperate with the plaintiff by
providing complete and truthful information regarding the
defendant's knowledge of any and all criminal activity.
whether undertaken by the defendant or others, in any way
involving or related to [describe offenses] [*the unlawful
violation of civil rights. unfair & unethical academic, university
By-Laws policies-violations, voidance council with 16 members of Board
of Trustee to review student grievance, & fraudJ. I John J. Myers's
cooperation shall also include submitting to interviews by
plaintiff's US Federal attorney general and agents of law enforcement.
as well as testifying truthfully and completely before grand juries-
US. Attorney General and at such pre-trial and trial proceedings as
the plaintiff's shall deem necessary under direction of US Attorney
General actions.

65. [ AIt ern at; ve J I J 0 hn J. Mye r s fur the rag r e e to
provide proactive cooperation to the plaint; ff, US Attorney General
regarding individuals involved in criminal activity involving
[describe] (the unlawful violation of civil rights,
academic fraud, unfair & unethical academic. University By-Laws
policies & procedures violations], (sexual crimesJ. The defendant

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agrees to comply with all reasonable instructions of law enforcement
in this regard.

66. John J. Myers's cooperation shall also be provided to any local,
state or federal authorities designated by the government and who have
agreed to abide by the terms of the

b) Approximately * 85,000 dollars of the plaintiffs* is the amount
involved in the defendant's relevant conduct encompassed in the suit
against both Seton Hall University and UMDNJ, Archbishop of Newark and
all 16 members of the Board of Trustees.

ACCEPTANCE OF RESPONSIBILITY

26. I John J . Myers agree to testify on the behalf of the plaintiff
against Seton Hall University and UMDNJ in order to testify that I
hereby committed fraud as the Archbishop of Newark for the Seton Hall
and UMONJ jOint Physician Assistant program against the plaintiff via
violating internal By-Laws policies and procedure to assemble the 16
members of the Board of Trustees to which to amend the s tudent's
complaint of loss of educational opportunity, academic transcript
fraud. defective academic transcript, transcript stigma that caused
cr~cial and unusual emotional distress and reta~~ation punishment.


I hereby admit to violating the civil rights of the plaintiff in order
to defraud him of his tuition while he attended the physician
assistant program and violate the compliant rights of his protest via
violating the University By-Laws policies and procedure to assembly
the 16 members of the Board of Trustee to seek an equal resolution to
educational opportunity lost that encompasses restoration or replace
by student choice financial support in new institution of higher
learning in any profession or program of selection or opportunity made
available by Eugene Stead Jr. M.D. Emory University founder of the
Physician Assistant profession.

29. The plaintiff and John J. Myers agree not to move for, request.
recommend or suggest any upward or downward adjustments or departures
other than those specifically set forth in this agreement. A breach of
this paragraph by a party shall relieve the other party of any
agreements made herein with respect to departure motions and
recommendations regarding the sentence to be imposed.




VI. APPEAL RIGHTS

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61. The defendant understands that Title 18, United States
Code, Section 3742 affords a defendant a limited right to
appeal the sentence imposed. The defendant, however,
knowingly waves the right to appeal. modify pursuant to
Title 18, United States Code, Section 3582 (c) (2) and
collaterally attack any sentence imposed by the Court which
falls within or is less than the sentencing range for
imprisonment. a fine and supervised release set forth in
Section II, above. notwithstanding the fact that the Court
may reach the sentence by a Guidelines analysis different
from that set forth in this agreement. [optional] The
defendant further agrees not to appeal a restitution order
which does not exceed the amount set forth in Section I of
:ris agreement.

62. The plaintiff's waives its right to appeal any sentence imposed by
the Court which falls within or is greater than the sentencing range
for imprisonment, a fine and

John j. Myers exercise control without the permission of the
plaintiff. A breach of this paragraph wi~l be given the
same effect as a breach of paragraph * in :his agreement.

76. As a condition of the plea, the John J. Myers agrees
to immediately [criminally/civilly] forfeit to the
plaintiff all of the John J. Myers's right. title and
interest to any and all assets, which are subject to
forfeiture pursuant to [put in appliccble statute-whether
civil or criminal forfeiturell8 U.S.C. '981. 982, 1963/21
U.S.C. '881,853], which are in the possession and control of defendant
or the Myer's nominees. Those assets
include:

b) CURRENCY

1) The sum of $ 85,000 United States Currency will be re-
establish to the plaintiff by means of cash or credit or
taking over or buying out debt (Department of Education; NJ
Class loans) of the plaintiff, if there is a failure by the
courts and John J. Myers to obtain a total tuition
refund and re address the grievance of violating the student loss of
educational opportunity, transcript defect and the failure initiate
review from the 16 members of the Board of Trustee.

2) In addition -section according to law guidelines for restitution in
breach of contract for monetary damages according;



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  Expectancy- principle remedy is to be award the non-breaching party
  (Travis Rose) monetary damages that give him the financial
  equivalent of what he would have gotten had parities performed no
  more, no less regarding future earning income.
   ER Physician Assistant- 40 year multiple be $ 85,000       $3.400.000.00
   Reliance- Is compensation the non-breaching party for out of pocket
   expenses incurred in anticipation of having whatever the breaching
   party had promised.
  Out of pocket-expenses- rent cost for years-$ 64.329 Legal-recruited
  US Attorney General of Hartford, Connecticut/ Newark. New Jersey who
  have been served by citizen of the United State of America as human
  being with un-alien rights under the US Constitution who is charged
  with citizen right to invoke that the violation of the Seton Hall
  University By-Laws is an internal threat to the community and
  professional theater of higher education and Roman Catholic mission.
   Restitution -involves requiring the breaching party to disgorge
   (RETURN) the va 1ue of any benefit he recei ved from non -breachi ng
   pa rty.
  Loss of wage and investment retirement principle total           for five
  accounts= $ 532,000.00
  The rules of foreseeability apply under
   Damages caused by breach
  •   The claimant ( Travis Rose) loss can be proved with reasonable
      certainty
  •   Particular damages were within the contemplation of the parties
      to the contract at the time it was executed-the rule
      foreseeability rule.
Retaliation- scheme to foil the rules of compensation and to undermine
importance of grievance on behalf of Travis Rose in which numerous
covert agents engaged in action to physical and professional created
document fraud to intimidate (assault) while Mr. Rose sought federal
employment to remedy the school problem which lead to neurology head
injury.

c) MONETARY JUDGEMENT

1) The sum of * dollars ($85000*) in United States

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  currency, to be evidenced by a judgment issued by this
  Court against the John J. Myers; said judgment will be
  referenced in the PRELIMINARY ORDER OF FORFEITURE and will
  provide for interest to accrue at the prevailing rate per
  annum and serve as a lien against the defendant's property
  until fully satisfied.
  2) The sum of * dollars ($ 4, 011,329.00.) in United States currency,
  to be evidenced by a judgment issued by this Court against Seton Hall
  University; said judgment will be refer enced in the PREL[MINARY ORDER
  OF FORFEITURE and will provide for inte re st to accrue at the
  prevailing rate per annum and serve as a lien against the defendant's
  property until fully satisfied.


 77. [OPTION-IF PROPERTY TO BE SUBJECT TO AN ONGOING OR FUTURE CIVIL
 FORFEITURE CASE] a) John J. Myers
 acknowledges that the plaintiff [has commenced a civil
 forfeiture action against description of property, 9*-CV-
 **** or wi11 commence a civil forfeiture action against
 [description of property]. John J. Myers agrees to enter
 into a stipulation settling the civil forfeiture action by
 agreeing to [Make full payment or tuition refund of 85000
 dollars to the plaintiff.] and agrees to provide and
 execute any other documents the plaintiff deems necessary
 to resolve the civil litigation and restore his educational
 opportunity with another educational institution as written in the
 student's compliant to the 16 members of the Board of Trustee which
 was subjected to violation of policies and procedures under University
 By-Laws without tainted bias/prejudice thoughts and/or actions of his
 previous colleagues and ideology of those in graduate medical
 educational department who feel the need to react vengeance for the
 school's tarnished reputation and educational brand. This also
 propagates the student's academic records worthlessness based on the
 fraud committed by the former PhysiCian assistant director and/or
 staff of Seton Hall University.




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